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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                      )
WHITMAN-WALKER                        )
CLINIC, INC., et al.,                 )
                                      )
      Plaintiffs,                     )
                                      )
v.                                    )    Case No. 1:20-cv-01630-JEB
                                      )
U.S. DEPARTMENT OF HEALTH             )
AND HUMAN SERVICES, et al.,           )
                                      )
      Defendants.                     )
____________________________________)

                                  JOINT STATUS REPORT

       The parties, by and through undersigned counsel, respectfully submit this Joint Status

Report pursuant to the Court’s Order dated October 1, 2024. Plaintiffs desire to have conversations

with Defendants about a resolution of this case without further litigation. To accommodate these

conversations, avoid unnecessary further litigation or briefing, and provide time for Plaintiffs’

counsel to confer with each of the Plaintiffs, Plaintiffs request an extension of three weeks until

October 29, 2024, to provide this Court with their response as to whether further litigation is

required or if the case may be dismissed. While Defendants believe the case to be moot,

Defendants consent to the requested extension.




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Dated: October 8, 2024                             Respectfully submitted,

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